Fill in this information to identify your case:

Debtor 1 Emily K. Biack

First Name Middle Name Last Name

 

Debtor 2

(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: = DISTRICT OF NEW MEXICO, ALBUQUERQUE DIVISION

 

Case number
(if known) 1 Check if this is an
amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12/15

 

if you are an individual filing under chapter 7, you must fill out this form if:
l@ creditors have claims secured by your property, or

a you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below. oo oe /
Identify the creditor and the property thatis collateral _ What do you intend to do with the property that __ Did you claim the property
: oe 2 os) 2 -securesadebt? = i : as exempt on Schedule C?

 

 

 

 

 

Creditors NUSENDA FCU C1 Surrender the property. CNo
name: C Retain the property and redeem it.

CO Retain the property and enter into a Reaffirmation Bi Yes
Description of 2011 Chevrolet Tahoe 1500 Agreement.
property 2WD @ Retain the property and [explain]:
securing debt: Retain & pay pursuant to contract
Creditors Specialized Loan Servicing LLC (J Surrender the property. C1 No
name: C1 Retain the property and redeem it.

C1 Retain the property and enter into a Reaffirmation @ Yes
Description of §400 White Reserve Ave SW, Agreement.
property Albuquerque, NM 87105-5958 @ Retain the property and [explain]:
securing debt: Retain & pay pursuant to contract
Creditors Toyota Motor Credit 1 Surrender the property. No
name: C1 Retain the property and redeem it.

C1 Retain the property and enter into a Reaffirmation B ves
Description of 2016 Toyota Avalon Agreement.
property @ Retain the property and [explain]:
securing debt: Retain & pay pursuant to contract

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1

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Debtor1 Black, Emily K.

Case number (ir known)

 

 

 

REE List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You

may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p){2).

Describe your unexpired personal property leases _

Lessor's name:
Description of leased
Property:

Lessor's name:

Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

EXTER sign Below

Will the lease be assumed?
0 No
CO Yes
O No
OQ Yes
O1 No
OO Yes
01 No
C] Yes
1 No

CO] Yes

CO No
0] Yes

C1 No

O Yes

 

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any personal

property that is subject to an ui

Xx

Emily K. Black
Signature of Debtor 1

Date April 10, 2020 Date

nexpired lease.

   

 

eet Signature of Debtor 2

 

 

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7

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